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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 18-cv-80176-BLOOM/Reinhart

   IRA KLEIMAN, as Personal Representative
   of the Estate of David Kleiman, and W&K
   INFO DEFENSE RESEARCH, LLC,

          Plaintiffs,
   v.

   CRAIG WRIGHT,

          Defendant.
                                                  /

                            COURT’S INSTRUCTIONS TO THE JURY

   Members of the jury:

         It is my duty to instruct you on the rules of law that you must use in deciding this case.

         When I have finished you will go to the jury room and begin your discussions, which are

         called deliberations.
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                    The Duty to Follow Instructions – Corporate Party Involved

         Your decision must be based only on the evidence presented here. You must not be

  influenced in any way by either sympathy for or prejudice against anyone.

         You must follow the law as I explain it—even if you do not agree with the law—and you

  must follow all of my instructions as a whole. You must not single out or disregard any of the

  instructions on the law.

         The fact that a limited liability company is involved as a party must not affect your decision

  in any way. A company—like all other persons—stand equal before the law and must be dealt with

  as equals in a court of justice. When a company is involved, of course, it may act only through people

  as its employees; and, in general, a company is responsible under the law for the acts and statements

  of its employees that are made within the scope of their duties as employees of the company.

                                     Consideration of Direct and

             Circumstantial Evidence; Argument of Counsel; Comments by the Court

         As I said before, you must consider only the evidence that I have admitted in the case.

         Evidence includes the testimony of witnesses and the exhibits admitted. But anything the

  lawyers say is not evidence and is not binding on you. You should not assume from anything I have

  said that I have any opinion about any factual issue in this case. Except for my instructions to you

  on the law, you should disregard anything I may have said during the trial in arriving at your own

  decision about the facts.

         Your own recollection and interpretation of the evidence is what matters.

         In considering the evidence, you may use reasoning and common sense to make deductions

  and reach conclusions. You should not be concerned about whether the evidence is direct or

  circumstantial.



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         “Direct evidence” is the testimony of a person who asserts that he or she has actual

  knowledge of a fact, such as an eyewitness.

         “Circumstantial evidence” is proof of a chain of facts and circumstances that tend to prove

  or disprove a fact. There’s no legal difference in the weight you may give to either direct or

  circumstantial evidence.

                                       Credibility of Witnesses

         When I say you must consider all the evidence, I do not mean that you must accept all the

  evidence as true or accurate. You should decide whether you believe what each witness had to say,

  and how important that testimony was. In making that decision you may believe or disbelieve any

  witness, in whole or in part.

         The number of witnesses testifying concerning a particular point does not necessarily matter.

         To decide whether you believe any witness, I suggest that you ask yourself a few questions:

           1. Did the witness impress you as one who was telling the truth?

           2. Did the witness have any particular reason not to tell the truth?

           3. Did the witness have a personal interest in the outcome of the case?

           4. Did the witness seem to have a good memory?

           5. Did the witness have the opportunity and ability to accurately observe the things he or

               she testified about?

           6. Did the witness appear to understand the questions clearly and answer them directly?

           7. Did the witness’s testimony differ from other testimony or other evidence?

                   Impeachment of Witnesses Because of Inconsistent Statements

         You should also ask yourself whether there was evidence that a witness testified falsely about

  an important fact. And ask yourself whether there was evidence that at some other time a witness



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  said or did something, or did not say or do something, that was different from the testimony the

  witness gave during this trial.

         But keep in mind that a simple mistake does not mean a witness was not telling the truth as

  he or she remembers it. People naturally tend to forget some things or remember them inaccurately.

  So, if a witness misstated something, you must decide whether it was because of an innocent lapse

  in memory or an intentional deception. The significance of your decision may depend on whether

  the misstatement is about an important fact or an unimportant detail.

                                              Expert Witness

         When scientific, technical, or other specialized knowledge might be helpful, a person who

  has special training or experience in that field is permitted to state an opinion about the matter. This

  person is referred to as an “expert witness.” As with any other witness’s testimony, you must decide

  for yourself whether to rely upon an experts’ opinion. The expert witnesses who testified in this case

  did so to assist you in reaching a decision about these issues.

         The testimony of these expert witnesses might have conflicted. You must remember that you

  are the sole trier of the facts, and their testimony relates to questions of fact. The way you resolve

  these conflicts is the same way that you decide other fact questions and the same way you decide

  whether to believe ordinary witnesses. You may give the testimony of each expert witness the weight

  you think it deserves in light of all the evidence.

                              Responsibility for Proof – Plaintiffs’ Claims

         Plaintiff Ira Kleiman, on behalf of the Estate of David Kleiman, has asserted claims against

  Defendant Dr. Craig Wright, or “Dr. Wright,” of breach of partnership, conversion, civil theft, fraud,

  constructive fraud, and unjust enrichment. Plaintiff W&K Info Defense Research, LLC, or “W&K,”

  has asserted claims against Defendant Dr. Craig Wright for conversion, civil theft, fraud,



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  constructive fraud, breach of fiduciary duty, and unjust enrichment. In this case, it is the

  responsibility of the Plaintiffs to prove all but one of their claims by a “preponderance of the

  evidence.” The Plaintiffs must prove their civil theft claims by clear and convincing evidence. This

  is sometimes called the “burden of proof” or the “burden of persuasion.”

         A “preponderance of the evidence” simply means an amount of evidence that is enough to

  persuade you that the Plaintiffs’ claim is more likely true than not true.

         Since there is more than one claim involved, you should consider each claim separately.

         In deciding whether any fact has been proven by a preponderance of the evidence, you may

  consider the testimony of all of the witnesses, regardless of who may have called them, and all of

  the exhibits received in evidence, regardless of who may have produced them, along with facts

  stipulated by the parties.

         If the proof fails to establish any essential part of Ira Kleiman or W&K’s claims by a

  preponderance of the evidence, you should find for Dr. Craig Wright as to that particular claim.

         In addition, Plaintiffs have the burden of proving their civil theft claims by clear and

  convincing evidence. This is a higher standard of proof than the preponderance of the evidence

  standard and requires that the Plaintiffs prove that the claim is highly probable or reasonably certain,

  not merely more likely true than not true.

         In deciding whether any fact has been proven by clear and convincing evidence, you may

  consider the testimony of all of the witnesses, regardless of who may have called them, and all of

  the exhibits received in evidence, regardless of who may have produced them, along with facts

  stipulated by the parties.

         If the proof fails to establish any essential part of Ira Kleiman or W&K’s civil theft claim by

  clear and convincing evidence, you should find for Dr. Craig Wright as to that particular claim.



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                     Responsibility for Proof – Defendant’s Affirmative Defenses

         In this case, the Defendant Dr. Craig Wright asserts the affirmative defenses of statute of

  limitations and laches. Even if Ira Kleiman or W&K prove their claims, the Defendant Dr. Craig

  Wright can prevail on that claim if he proves an affirmative defense to that claim by a preponderance

  of the evidence.

         Since more than one affirmative defense is involved, you should consider each one

  separately. However, you should consider each affirmative defense only as to the claim or claims to

  which it is directed.

         I caution you that the Defendant Dr. Craig Wright does not have to disprove the Plaintiffs’

  Ira Kleiman and W&K’s claims, but if the Defendant Dr. Craig Wright raises an affirmative defense,

  the only way he can prevail on that specific defense is if he proves that defense by a preponderance

  of the evidence. Similarly, if the proof fails to establish an essential part of any of the Defendant’s

  affirmative defenses by a preponderance of the evidence, you should find against the Defendant Dr.

  Craig Wright on that affirmative defense.

                                               Stipulations

         Sometimes the parties have agreed that certain facts are true. Such an agreement is called a

  stipulation. You must treat these stipulated facts as proved for this cause. The stipulated facts are:

           1. Plaintiffs filed this action on February 14, 2018.

           2. The Plaintiffs in this case are Ira Kleiman as the personal representative of the Estate

               of David Kleiman and W&K Info Defense Research LLC (“W&K”).

           3. Ira Kleiman is David Kleiman’s brother and he serves as the personal representative of

               David Kleiman’s estate.

           4. David Kleiman was a resident of Florida at all material times.



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           5. On February 14, 2011, W&K was formed as a Florida Limited Liability Company.

           6. Dr. Craig Wright is an Australian citizen.

           7. The Bitcoin whitepaper was publicly released on October 31, 2008, under the

               pseudonym Satoshi Nakamoto.

           8. Ira Kleiman opened an estate proceeding related to David Kleiman in the Circuit Court for

               Palm Beach County (the “Probate Proceeding”).

                              Definition of a Limited Liability Company

         Plaintiff W&K is a limited liability company. A limited liability company, or LLC, is a

  business structure whereby the owners are not personally liable for the company’s debts or liabilities.

  An LLC combines some characteristics of a corporation with those of a partnership. LLCs are

  managed by their members unless explicitly stated otherwise in an operating agreement or formation

  document.

                         Judicial Notice Regarding Currency Exchange Rate

         The Rules of Evidence allow me to accept facts that no one can reasonably dispute. The law

  calls this “judicial notice.” There is some evidence in the record referring to currencies other than

  the U.S. Dollars. I have accepted the following currency exchange rates as proved:

           •   On April 2, 2014, the exchange rate for U.S. Dollars to Australian Dollars was 0.9236

               U.S. Dollars per Australian Dollar;

           •   On November 13, 2014, the exchange rate for U.S. Dollars to Australian Dollars was

               0.8730 U.S. Dollars per Australian Dollar; and

           •   On October 20, 2016, the exchange rate for U.S. Dollars to British Pounds was 1.2256

               U.S. Dollars per British Pound.

         You must accept these exchange rates as true for this case.



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                                       Use of Demonstrative Exhibits

         Certain demonstrative exhibits, such as charts and diagrams have been shown to you. Those

  charts and diagrams are used for convenience and to help explain the facts of the case. They are not

  themselves evidence or proof of any facts.

                                           Partnership – Breach

         The Estate of David Kleiman has brought a claim against Dr. Craig Wright for breach of

  partnership. Specifically, the Estate of David Kleiman claims that David Kleiman and Dr. Craig

  Wright formed a partnership to develop the original Bitcoin protocol, to mine bitcoin, and to develop

  related blockchain technology. The Estate further alleges that no assets of the partnership were

  distributed to it after David Kleiman’s death. Dr. Craig Wright does not dispute that no assets were

  distributed. Instead, he claims that there was no partnership and therefore no distribution was

  required.

          Accordingly, you will be asked to determine two questions on this claim:

              1. Whether there was a partnership between David Kleiman and Dr. Craig Wright, and

                 whether Dr. Craig Wright breached his duties to the partnership? And, if so;

              2. What portion of the partnership’s assets are now owed to the Estate of David Kleiman?

                                           Partnership – Defined

         A “partnership” means an association of two or more persons to carry on as co-owners of a

  business for profit. A partnership, based on a written or oral agreement, must include each of the

  following elements:

              1. A common purpose;

              2. A joint proprietary interest in the subject matter or purpose of the partnership;

              3. The right to share profits and the duty to share losses; and



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           4. Joint control or right of control over the partnership.

         Plaintiffs must prove each of these elements by a preponderance of the evidence to establish

  the existence of a partnership.

                                           Partnership – Assets

         If you find that there was a partnership between David Kleiman and Dr. Craig Wright, you

  will then have to determine the assets of that partnership, and what share of those assets belonged to

  David Kleiman, and are now owed to his Estate.

         On the issue of determining the respective parties’ ownership share in the partnership, I

  instruct you that in the absence of a contrary agreement among the partners, the partners in a

  partnership are entitled to share equally in the assets and profits of the partnership.

         Further, on the issue of what assets are owed to the Estate of David Kleiman, I instruct you that

  if rather than winding up the partnership’s business following the death of his partner, the surviving

  partner continues the partnership business with partnership assets, then the surviving partner acts as

  a trustee for the deceased partner. As a trustee, the surviving partner is required to administer the

  portion of the partnership assets belonging to the deceased partner solely in the interests of the

  deceased partner’s estate, and not the interests of the surviving partner. The surviving partner must

  administer the partnership assets belonging to the deceased partner as a prudent person would in

  light of the circumstances, exercising reasonable care, skill, and caution.

         Furthermore, the surviving partner is required to account to the deceased partner’s estate and

  provide a list of the partnership assets to the deceased partner’s heirs. The rationale underlying the

  rule is based upon the surviving partner’s superior knowledge: A surviving partner does not deal at

  arms-length with the heirs of a deceased partner but must make an open and full disclosure to them.

  The heirs are at a big disadvantage in dealing with the surviving partners, lacking knowledge of the



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   extent of the partnership property or information about the amount of business done or the value of

   the partnership.

                                           Partnership – Duties

          Partners in a partnership owe duties to each other and to the partnership. These duties include

   a duty of care, a duty of loyalty, and an obligation of good faith and fair dealing.

          Under the duty of care, a partner must not engage in grossly negligent or reckless conduct,

   intentional misconduct, or a knowing violation of law.

          Under the duty of loyalty, a partner must account to the partnership and hold as trustee for

   the partnership any property, profit, or benefit derived by the partner in the conduct and winding up

   of the partnership business or derived from a use by the partner of partnership property, including

   the appropriation of a partnership opportunity.

          A partner must discharge his duties to the other partner and to the partnership, and act in a

   manner that does not frustrate the agreed common purpose of the parties and deprive the other party

   of the benefits of the agreement.

                                              Fiduciary Duty

          W&K has asserted a claim for breach of a fiduciary duty against Dr. Craig Wright. W&K

   claims that Dr. Craig Wright breached his fiduciary duties by fraudulently procuring a judgment

   against it in Australia following David Kleiman’s death, using that judgment to claim ownership

   over W&K’s assets, and then using those assets for his benefit.

          There are two issues for your determination on this claim:

            1. Did Dr. Craig Wright owe a fiduciary duty to W&K? And, if so;

            2. Did he breach that duty?

          On the first issue, whether Dr. Craig Wright owed W&K a fiduciary duty, W&K must prove



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   the following by a preponderance of the evidence:

            1. A relationship existed between W&K and Dr. Craig Wright;

            2. Dr. Craig Wright was in a position of trust with respect to the W&K’s financial or

                property interests; and

            3. Dr. Craig Wright accepted that trust.

                                          Fiduciary Duty – Breach

          If you find that Dr. Craig Wright owed a fiduciary duty to W&K, you will then consider the

   issue of whether he breached that duty.

          A fiduciary duty imposes a duty to act with the utmost good faith in the best interests of the

   company. This includes the duty to refrain from self-dealing, the duty of loyalty, the duty to disclose

   material facts, and the overall duty not to take unfair advantage and to act in the best interest of the

   company.

          To prove a breach of a fiduciary duty, W&K must show:

            1. That Dr. Craig Wright breached a fiduciary duty by misappropriating W&K’s

                intellectual property; and

            2. That this breach was a legal cause of damages to W&K.

                                                Conversion

          The Estate of David Kleiman and W&K have asserted claims for conversion against Dr.

   Craig Wright. They claim that Dr. Craig Wright wrongfully exercised control over the property of

   David Kleiman and the property of W&K.

          Conversion means a distinct act of control wrongfully asserted over another’s personal

   property in a manner that is inconsistent with the other’s right to that property. There are a number

   of ways that conversion can occur, such as intentionally dispossessing another of the property, using



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   the property without authority, or disposing of the property by selling, pledging, gifting, or leasing

   it.

          To prevail on their claim of conversion, the Plaintiffs must each prove the following by a

   preponderance of the evidence:

            1. Dr. Craig Wright wrongfully asserted dominion or ownership over certain property;

            2. This property belonged to the Estate of David Kleiman and/or W&K, respectively; and

            3. Dr. Craig Wright’s action was inconsistent with the ownership or right to possess the

                property by the Estate of David Kleiman and/or W&K.

                                                Civil Theft

          The Estate of David Kleiman and W&K have asserted claims for civil theft against Dr. Craig

   Wright. The Plaintiffs must prove the following by clear and convincing evidence:

            1. Dr. Craig Wright obtained, used, or attempted to obtain or use the Estate of David

                Kleiman’s, W&K’s, or the partnership’s property;

            2. With the criminal intent to deprive the Estate of David Kleiman, W&K, or the

                partnership, either temporarily or permanently, of that property or a benefit from that

                property; and

            3. Dr. Craig Wright’s actions were a legal cause of damages to the Estate of David Kleiman

                or W&K.

                                           Unjust Enrichment

          The Estate of David Kleiman and W&K have asserted claims of unjust enrichment against

   Dr. Craig Wright. To prevail on their claims of unjust enrichment, the Estate of David Kleiman

   and/or W&K must prove the following by a preponderance of the evidence:

            1. David Kleiman and/or W&K conferred a benefit on Dr. Craig Wright;



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            2. That Dr. Craig Wright voluntarily accepted and retained that benefit; and

            3. It would be inequitable or unfair for Dr. Craig Wright to retain the benefit without

                paying the value of the benefit to the Estate of David Kleiman and/or W&K.

                                                   Fraud

          The Estate of David Kleiman and W&K have alleged claims against Dr. Craig Wright for fraud.

   To prevail on their claims of fraud, the Plaintiffs must prove the following by a preponderance of the

   evidence:

            1. Dr. Craig Wright made a false statement or omission of a material fact;

            2. That he knew the statement was false at the time it was made;

            3. Dr. Craig Wright intended that David Kleiman, Ira Kleiman, or W&K would rely on

                the false statement or omission;

            4. David Kleiman, Ira Kleiman, or W&K relied on the false statement or omission; and

            5. The false statement or omission caused damage to the Estate of David Kleiman or

                W&K.

                                           Constructive Fraud

          The Estate of David Kleiman and W&K have asserted claims for constructive fraud against

   Dr. Craig Wright. For the Plaintiffs to prevail on their constructive fraud claims, they must prove the

   following by a preponderance of the evidence:

            1. A relationship of trust and confidence existed between one or more of the Plaintiffs and

                Dr. Craig Wright;

            2. Dr. Craig Wright took advantage of this relationship of trust and confidence; and

            3. Proximately caused one or more of the Plaintiffs to suffer damages.




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                                           Affirmative Defenses

          If you find that the Estate of David Kleiman and W&K have proven, by a preponderance of

   the evidence, one or more of their claims against Dr. Craig Wright, then you shall next consider the

   affirmative defenses raised by Dr. Craig Wright. In this case, Dr. Craig Wright asserts the affirmative

   defenses of statute of limitations and laches and contends that the claims asserted by the Plaintiffs

   have not been filed timely and, as a result, those claims are barred.

          Even if the Plaintiffs prove their claims by a preponderance of the evidence, or by clear and

   convincing evidence for civil theft, the Defendant can prevail in this case if he proves an affirmative

   defense by a preponderance of the evidence. When more than one affirmative defense is involved,

   as it is here, you should consider each one separately.

                               Affirmative Defense – Statute of Limitations

          The statute of limitations requires the Plaintiffs to commence their lawsuit within a certain

   time period as prescribed by law. The Defendant’s statute of limitations defense is directed at each

   of the Plaintiffs’ claims, except the civil theft claim. As such, you should not consider the statute of

   limitations affirmative defense as to Plaintiffs’ civil theft claim. The Plaintiffs’ remaining claims

   each have a four-year statute of limitations. This lawsuit was filed on February 14, 2018.

   Accordingly, to prevail on the statute of limitations affirmative defense, the Defendant must prove

   by a preponderance of the evidence that the Plaintiffs’ claims, excluding the civil theft claim, accrued

   before February 14, 2014.

          A cause of action “accrues” when the Plaintiffs discover or should have discovered through

   the exercise of reasonable care and diligence the facts establishing the elements of a cause of action.

          If you find by a preponderance of the evidence that Defendant has proven that one or more

   of Plaintiffs’ claims accrued before February 14, 2014, then you must find in favor of the Defendant.



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          If, however, you find that the preponderance of the evidence does not support Defendant Dr.

   Craig Wright’s statute of limitations affirmative defense, you must find against him on this

   affirmative defense.

                                         Fraudulent Concealment

          An exception to the statute of limitations affirmative defense is the doctrine of “fraudulent

   concealment”—where a Plaintiff alleges that a Defendant engaged in willful concealment of the

   claim or cause of action using fraudulent means. Such fraudulent actions will delay the beginning of

   the limitation period until the Plaintiff either knows or should have known that the Plaintiff suffered

   damages.

          You will only consider the fraudulent concealment exception if you find that Defendant has

   proven his statute of limitations affirmative defense. The Defendant’s statute of limitations

   affirmative defense cannot succeed if the Defendant fraudulently concealed his misconduct.

          To prove fraudulent concealment, the Estate of David Kleiman or W&K must prove by a

   preponderance of the evidence:

              1. Dr. Craig Wright fraudulently concealed the causes of action from the Estate of David

                 Kleiman and W&K until at least February 14, 2014; and

              2. The Estate of David Kleiman or W&K exercised reasonable care and diligence in

                 seeking to discover the facts that form the basis of the claim.

          Fraudulent concealment goes beyond a Defendant’s mere non-disclosure of a fact, it must

   constitute active and willful concealment of a material fact where the Plaintiffs did not have the equal

   opportunity to become apprised of the fact. Plaintiffs bear the burden of establishing by a

   preponderance of the evidence that fraudulent concealment should be applied.

          Ira Kleiman and W&K claim that their claims were timely filed. In the alternative, Plaintiffs



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   contend that the commencement of the statutes of limitations for their claims should be delayed

   because Dr. Craig Wright fraudulently concealed their claims.

          Dr. Craig Wright denies that fraudulent concealment should apply because there is no

   evidence that he actively and willfully concealed any of Plaintiffs’ purported claims.

                                     Affirmative Defense – Laches

          Laches is an equitable doctrine that prevents the Estate of David Kleiman and W&K from

   recovering damages on their claims if they have inexcusably delayed asserting their claims and the

   delay has caused undue hardship to Dr. Craig Wright. To prevail on his affirmative defense of laches,

   the Defendant must prove by a preponderance of the evidence:

            1. A delay in the Plaintiffs’ assertion of their claims;

            2. That the delay was inexcusable; and

            3. That the delay caused the Defendant undue prejudice.

          If you find by a preponderance of the evidence that Plaintiffs have inexcusably delayed

   bringing their claims, which caused undue prejudice to the Defendant, then you must find in favor

   of the Defendant.

          If, however, you find that the preponderance of the evidence does not support Defendant Dr.

   Craig Wright’s laches affirmative defense, you must find against him on this affirmative defense.

                                                 Damages

          If you find for the Estate of David Kleiman and/or W&K on any of its claims, you must

   consider the matter of damages. Generally, you should award an amount of money that the

   preponderance of the evidence shows will fairly and adequately compensate the Estate of David

   Kleiman and/or W&K for its damages. If you find for the Estate of David Kleiman or W&K on civil

   theft, you should award the Estate of David Kleiman or W&K an amount of money, if any, that the



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   clear and convincing evidence shows are the actual damages sustained by the Estate of David

   Kleiman or W&K.

           You should consider the following types of damages:

                                         Compensatory Damages

          That amount of money you find to be justified by a preponderance of the evidence as full,

   just, and reasonable compensation for the Plaintiff’s damages caused by the Defendant.

                           Damages for the Estate’s Interest in Partnership

          If you find that David Kleiman and Dr. Craig Wright, had a partnership, you will be asked to

   determine the value of the assets of the partnership that correspond to David Kleiman’s partnership

   interest, which would now belong to his Estate. As I explained earlier, absent a contrary agreement,

   the assets of a partnership are to be divided equally among partners. Because the assets of the

   partnership were never distributed to David Kleiman or his Estate at the time of his death, the damages

   you should award should be based on the present value of any bitcoin and/or intellectual property you

   find was part of the partnership.

          First, you will be asked to determine the quantity of any bitcoin, if any, owned by the

   partnership. You will then be asked to decide the current value of that bitcoin and award the Estate

   50% of that value unless you find that there was a different amount agreed upon by David Kleiman

   and Dr. Craig Wright, in which case you should adjust the portion you award to the Estate of David

   Kleiman to reflect the amount you have decided.

          Second, you will be asked to determine the intellectual property, if any, owned by the

   partnership. You will then be asked to determine the current value of the intellectual property and

   award the Estate 50% of that value unless you find that there was a different amount agreed upon by

   David Kleiman and Dr. Craig Wright, in which case you should adjust the portion you award to the



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   Estate of David Kleiman to reflect the amount you have decided.



                                         Damages for Conversion

          If you find for the Estate of David Kleiman or W&K on conversion, you should award the

   Estate of David Kleiman or W&K the quantity of assets, if any, you determine were converted and

   the value of those assets. Plaintiffs are entitled to the highest value of the assets between the time of

   conversion and the date of your verdict.

                                         Damages for Civil Theft

          If you find for the Estate of David Kleiman and/or W&K on their claims of civil theft, you

   should award the Estate of David Kleiman or W&K an amount of money, if any, that the clear and

   convincing evidence shows are the actual damages sustained by the Estate of David Kleiman or

   W&K. Plaintiffs are entitled to the highest value of the assets between the time of conversion and

   the date of your verdict.

                                  Damages for Fraud and Constructive Fraud

          If you find for the Estate of David Kleiman and/or W&K on either fraud or constructive fraud,

   you should award the Estate of David Kleiman or W&K the amount of any damages calculated as of

   the time the Defendant committed the fraud or the constructive fraud.

                                     Damages for Breach of Fiduciary Duty

          If you find for W&K on its claim for breach of fiduciary duty, you should award W&K the

   amount of any damages, if any, calculated as of the time the Defendant breached his fiduciary duty

   to W&K.

                                     Damages for Unjust Enrichment

          If you find for the Estate of David Kleiman and/or W&K on their claims for unjust



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   enrichment, then they are entitled to an amount of money equal to the value of the benefit conferred

   upon the Defendant and attributable to his wrongdoing.

                                              Punitive Damages

           If you find for the Estate of David Kleiman or W&K on their conversion, fraud, and/or

   constructive fraud claims, you must decide whether to award punitive damages in addition to any

   compensatory damages awarded. Punitive damages are warranted against Dr. Craig Wright if you

   find by clear and convincing evidence that he engaged in intentional misconduct or gross negligence,

   which was a substantial cause of damage to the Estate of David Kleiman or W&K. Under those

   circumstances you may, in your discretion, award punitive damages against Dr. Craig Wright. If

   clear and convincing evidence does not show such conduct by Dr. Craig Wright, punitive damages

   are not warranted against him.

           “Intentional misconduct” means that Dr. Craig Wright had actual knowledge of the

   wrongfulness of the conduct and that there was a high probability of injury or damage to the Estate

   of David Kleiman or W&K and, despite that knowledge, the Defendant intentionally pursued that

   course of conduct, resulting in injury or damage.

           “Gross negligence” means that the Defendant’s conduct was so reckless or wanting in care

   that it constituted a conscious disregard or indifference to the life, safety, or rights of persons exposed

   to such conduct.

           If you decide that punitive damages are warranted against the Defendant, then you must

   decide the amount of punitive damages, if any, to be assessed as punishment against the Defendant

   and as a deterrent to others. This amount would be in addition to any compensatory damages you

   award to the plaintiffs. In making this determination, you should consider the following:




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      1. The nature, extent, and degree of misconduct and the related circumstances, including the

          following:

              a. Whether the wrongful conduct was motivated solely by unreasonable financial gain;

              b. Whether the unreasonably dangerous nature of the conduct, together with the high

                  likelihood of injury resulting from the conduct, was actually known by the Defendant;

              c. Whether, at the time of damage, the Defendant had a specific intent to harm a Plaintiff

                  and the conduct of the Defendant did in fact harm a Plaintiff;

      2. The financial resources of the Defendant.

          You may, in your discretion, decline to assess punitive damages.

                                                Note-Taking

          You’ve been permitted to take notes during the trial. Most of you—perhaps all of you—have

   taken advantage of that opportunity.

          You must use your notes only as a memory aid during deliberations. You must not give your

   notes priority over your independent recollection of the evidence. And you must not allow yourself

   to be unduly influenced by the notes of other jurors.

          I emphasize that notes are not entitled to any greater weight than your memories or

   impressions about the testimony.

                                             Duty to Deliberate

          In your deliberations, you will consider and decide distinct claims and affirmative defenses.

   Although these claims and affirmative defenses had been tried together, each is separate from the

   others, and each party is entitled to have you separately consider each claim and affirmative defense

   as it affects that party. Therefore, in your deliberations, you should consider the evidence as it relates

   to each claim and affirmative defense separately, as you would had each claim and affirmative



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   defense been tried before you separately.

           Of course, the fact that I have given you instructions concerning the issue of the Plaintiffs Ira

   Kleiman’s and W&K’s damages should not be interpreted in any way as an indication that I believe

   that the Plaintiffs should, or should not, prevail in this case.

           You must decide the case solely on the evidence and the law before you and must not be

   influenced by any personal likes or dislikes, opinions, prejudices, sympathy, or biases.

           Your verdict must be unanimous—in other words, you must all agree. Your deliberations are

   secret, and you will never have to explain your verdict to anyone.

           Each of you must decide the case for yourself, but only after fully considering the evidence

   with the other jurors.

           You must discuss the case with one another and try to reach an agreement. While you are

   discussing the case, do not hesitate to reexamine your own opinion and change your mind if you

   become convinced that you were wrong. But do not give up your honest beliefs just because others

   think differently or because you simply want to get the case over with.

           Remember that, in a very real way, you are judges—judges of the facts. Your only interest is

   to seek the truth from the evidence in the case.

                        Election of a Foreperson – Explanation of Verdict Form

           When you get to the jury room, choose one of your members to act as foreperson. The

   foreperson will direct your deliberations and speak for you in court.

           A verdict form has been prepared for your convenience. The verdict form contains questions

   and directions for answering them. In answering the questions, you must apply the law in these

   instructions to the facts that were proven by the evidence. You may also refer to the Jury Instructions

   for guidance on the law applicable to the subject matter covered by each question.



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           The questions are organized by claim, first asking whether you find the Defendant liable for

   the particular claim. If your answer to the first question is yes, you are then instructed to answer

   further questions, asking you to identify which Plaintiffs have proven their claims and the amount of

   damages to be awarded to each Plaintiff. You will then consider the Defendant’s affirmative defenses

   and whether they bar or preclude certain claims. Finally, you will consider whether punitive damages

   are appropriate as to certain claims.

           You must all agree on each answer before you complete the verdict form. After you reach a

   verdict, your foreperson should be designated to complete the verdict form by inserting all necessary

   answers in the form.

   [Explain verdict form]

           Take the verdict form with you to the jury room. When you have all agreed on the verdict,

   your foreperson must fill in the form, sign it, and then date it. Then you will return it to the courtroom.

           If you wish to communicate with me at any time, please write down your message or question

   and give it to the court security officer. The court security officer will bring it to me, and I will

   respond as promptly as possible—either in writing or by talking to you in the courtroom. Please

   understand that I may have to talk to the lawyers and the parties before I respond to your question or

   message, so you should be patient as you await my response. But I caution you not to tell me how

   many jurors have voted one way or the other at that time. That type of information should remain in

   the jury room and not be shared with anyone, including me, in your note or question.




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